 8:07-cr-00135-LSC-FG3       Doc # 60     Filed: 10/15/07    Page 1 of 3 - Page ID # 242




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:07CR135
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )              TENTATIVE FINDINGS
                                             )
MAURICE FAULKNER,                            )
                                             )
              Defendant.                     )


       The Court has received the Presentence Investigation Report (“PSR”) in this case.

The parties have not objected to the PSR. See Order on Sentencing Schedule, ¶ 6. The

Court advises the parties that these Tentative Findings are issued with the understanding

that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12, 2005), the

sentencing guidelines are advisory.

       The Court has also reviewed the Defendant’s motion for downward departure or

deviation and the accompanying brief.1 (Filing Nos. 57 and 58.) The Defendant requests

an order allowing him to serve his time at a detention “facility” where he can receive

appropriate medical care and continue his chemical dependency rehabilitation. In the

Defendant’s brief, it is acknowledged that the Defendant’s severe obesity has contributed

to the Defendant’s medical problems.       (Filing No. 58, at 1-2.)    The doctor’s letter

accompanying the brief states that if the Defendant goes to prison, he “will need to have

physical therapy, have doctors keep treating him for his massive obesity, and maybe with

a controlled environment, he could finally lose some weight.” (Filing No. 58, Ex. 1.)




       1
       The motion was brought in part under U.S.S.G. § 5H1.1, which relates to age. The
sentencing guideline relating to physical condition is U.S.S.G. § 5H1.4.
 8:07-cr-00135-LSC-FG3         Doc # 60    Filed: 10/15/07     Page 2 of 3 - Page ID # 243




          U.S.S.G. § 5H1.4 states that an “extraordinary” physical impairment may be

grounds for a downward departure. The Eighth Circuit Court of Appals has described an

“extraordinary” physical impairment as an impairment that is “‘more dangerous for

prisoners than for non-prisoners.’” United States v. Robinson, 409 F.3d 979, 981 (8th Cir.

2005) (quoting United States v. Johnson, 318 F.3d 821, 826 (8th Cir. 2003)). In other

words, to succeed a defendant must show that the U.S. Bureau of Prisons cannot

accommodate the defendant’s medical condition and provide appropriate medical care.

Id. From the record presented in the instant case, the doctor’s statement accompanying

the brief indicates that imprisonment and a diet in a controlled environment might actually

improve the Defendant’s obesity and therefore his remaining medical issues. Because the

Defendant has not shown that the Bureau of Prisons cannot accommodate the

Defendant’s medical condition or provide him with appropriate medical care, the motion is

denied.

       IT IS ORDERED:

       1.      The parties are notified that my tentative findings are that the PSR is correct

in all respects;

       2.      The Defendant’s motion for downward departure or deviation (Filing No. 57)

is denied;

       3.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

                                              2
 8:07-cr-00135-LSC-FG3       Doc # 60    Filed: 10/15/07   Page 3 of 3 - Page ID # 244




hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

      4.     Absent submission of the information required by paragraph 2 of this Order,

my tentative findings may become final; and

      5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 15th day of October, 2007.

                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         United States District Judge




                                               3
